           Case 1:05-cv-00543-BH-C Document 14 Filed 11/28/05 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


MARY BECKHAM                   )
                               )
         Plaintiff,            )
                               )
vs.                            )                      CIVIL ACTION NO 05-0543-BH-D
                               )
PROVIDENT LIFE AND ACCIDENT )
INSURANCE COMPANY;             )
UNUMPROVIDENT CORPORATION; )
ARCHDIOCESE OF MOBILE, et al., )
                               )
                               )
         Defendants.           )



                                             ORDER

       This matter is before the court on the parties’ “Agreed Motion to Stay Deadline for Filing

Rule 26(f) Report” (Doc. 13), filed November 17, 2005. 1 The parties move the court to continue

the deadline for filing the report or parties on the grounds that currently pending before the court

are plaintiff’s motion to remand, plaintiff’s motion to amend complaint and defendant

Archdiocese of Mobile’s motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure. (See Docs. 2, 6, 9) The parties maintain that rulings on the pending motions

“may significantly impact the scope of discovery to be undertaken in this action.” (Doc. 13 at 2).

       While the court generally does not stay discovery on the basis of a motion to remand,

there is also a motion to dismiss pending in this action. The Eleventh Circuit has held that


       1
         Pursuant to the Preliminary Scheduling Order (Doc. 5) entered in this action on
October 4, 2005, the report of parties planning meeting is due November 18, 2005.

                                                 1
         Case 1:05-cv-00543-BH-C Document 14 Filed 11/28/05 Page 2 of 2



“[f]acial challenges to the legal sufficiency of a claim or defense, such as a motion to dismiss

based on failure to state a claim for relief, (footnote omitted) should [ ] be resolved before

discovery begins. Such a dispute always presents a purely legal question; there are no issues of

fact because the allegations contained in the pleading are presumed to be true.” Chudasama v.

Mazda Motor Corporation, 123 F.3d 1353, 1367 (11th Cir. 1997) citing Mitchell v. Duval

County Sch. Bd., 107 F.3d 837, 838 n. 1 (11th Cir.1997) (per curiam). The Eleventh Circuit

further found that “neither the parties nor the court have any need for discovery before the court

rules on the motion [to dismiss]. Id. citing Kaylor v. Fields, 661 F.2d 1177, 1184 (8th Cir.1981)

("Discovery should follow the filing of a well-pleaded complaint. It is not a device to enable a

plaintiff to make a case when his complaint has failed to state a claim.").

       Upon consideration, the parties’ motion is GRANTED, in part, as follows:

The parties shall meet and file a Rule 26(f) report no later than December 23, 2005. If the court

has not ruled on the pending motion to dismiss at this time, the court will entertain a motion from

the Archdiocese of Mobile that discovery against this defendant be held in abeyance until a

ruling on its motion to dismiss.

       DONE and ORDERED this the 28th day of November 2005.

                                               /s/ Kristi K. DuBose
                                               KRISTI K. DuBOSE
                                               UNITED STATES MAGISTRATE JUDGE




                                                  2
